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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


ANGELA MELANCON,           *                         CIVIL ACTION NO.
                           *
                 Plaintiff *
                           *                         JUDGE
VERSUS                     *
                           *                         MAGISTRATE JUDGE
LAFAYETTE GENERAL MEDICAL  *
CENTER, INC d/b/a OCHSNER  *
LAFAYETTE GENERAL MEDICAL  *
CENTER                     *
                 Defendant *                         JURY TRIAL DEMANDED
*************************

                                          COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes Angela Melancon, Plaintiff

herein, who respectfully states and avers the following:

                                            PARTIES

                                                1.

       Plaintiff, Angela Melancon (hereinafter “Ms. Melancon” or “Plaintiff”), is a Caucasian

female of the full age of majority, presently residing and domiciled in Lafayette Parish, State of

Louisiana.

                                                2.

       Made Defendant herein is Lafayette General Medical Center, Inc., d/b/a Ochsner

Lafayette General Medical Center (hereinafter “Ochsner” or “Defendant”), a domestic

corporation maintaining its principal place of business in Lafayette Parish, Louisiana, and is

authorized to do and doing business in the State of Louisiana.




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                                   FACTUAL BACKGROUND

                                                    3.

        On or about March 30, 1992, Ms. Melancon began her employment with Ochsner as a

Security Officer. Throughout her employment with Defendant, from 1992 to the present, Ms.

Melancon progressed steadily in title and responsibility.

                                                    4.

        On or about 2009, Ms. Melancon was promoted to Security Operations Manager and, in

year 2015, after several security management personnel retired, Defendant tasked Ms. Melancon

with managing the security at five (5) of Defendant’s health care facilities and supervising and

directing the activities of 45 security officers.

                                                    5.

        Though Ms. Melancon was tasked with performing the responsibilities of several former

employees, her compensation and benefits package never reflected her increased workload and

her job title remained the same.

                                                    6.

        Nevertheless, throughout her career, Ms. Melancon received only positive job

performance evaluations and consistently qualified for all available annual bonuses.

                                                    7.

        On or about December, 2020, Defendant posted a job vacancy for the

Security/Safety/Emergency Prep Manager’s position. The position description describing the

posted manger’s position was identical to the task and responsibilities currently performed by

Ms. Melancon.




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                                                8.

         Nevertheless, on or about February 21, 2021, Defendant hired Donnie Simon to become

Defendant’s Director of Security/Safety/Emergency Prep of the health system. Simon became

Ms. Melancon’s supervisor.

                                                9.

         Importantly, Ms. Melancon, for a period of six months, was required to train Simon on

how to carry out the duties and responsibilities of the Director’s position. In response, Simon

raved to his supervisor, Defendant’s CEO, about Ms. Melancon’s commitment, dedication and

expertise in carrying out her job responsibilities and her responsiveness to Defendant’s security

staff.

                                                10.

         As noted above, Ms. Melancon performed her job duties admirably, without complaint

and carried out her supervisory responsibilities in strict compliance with Defendant’s policies

and procedures.

                                                11.

         Notwithstanding Ms. Melancon’s job performance, Defendant, on or about July 8, 2021,

without lawful reason, explanation or justification, adversely altered the terms and conditions of

her employment and threatened Ms. Melancon with termination.

                                                12.

         The stated basis for Defendant’s adverse employment action was Ms. Melancon’s alleged

failure to demonstrate several elements of Defendant’s standards of behavior when responding to

or addressing an employee that calls in ill—which Plaintiff alleges herein to be a mere pretext for

unlawful retaliation.



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                                UNLAWFUL RETALIATION

                                               13.

       Specifically, on or about March 4, 2021, Ms. Melancon met with an employee that she

supervises, Lydia Bernard, to discuss various techniques regarding how to properly address an

employee whose job performance is substandard.

                                               14.

       In response to Ms. Melancon’s “coaching” efforts, Lydia Bernard, who is African

American, aggressively moved into Ms. Melancon’s personal space and said “Yessa massa,

yessa massa! I will do whatever you tell me too.”

                                               15.

       Because of Bernard’s racially offensive conduct, Ms. Melancon reported Bernard’s

behavior to Defendant’s Human Resource Department (“HR”).

                                               16.

       Ms. Melancon informed Defendant’s HR representative, Monshita Givens, that Bernard

completely and utterly humiliated her when Bernard antagonistically and intentionally invaded

her personal space and referred to her as a “slave owner.”

                                               17.

       Even though Bernard’s behavior was a clear violation of Defendant’s workplace policy

and was responsible for demoralizing a 30year exemplary employee, Defendant decided to only

issue Bernard a written reprimand for her behavior.

                                               18.

       Because Ms. Melancon believed that Bernard’s behavior should not be tolerated or

glossed over, when she was informed of Defendant’s decision regarding Bernard, Ms. Melancon



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expressed her disappointment to Defendant’s HR representative. As a result of Ms. Melancon’s

continued effort to eliminate racial harassment in the workplace, Defendant eventually placed

Bernard on a three (3) day suspension.

                                               19.

       However, instead of applauding Ms. Melancon for her efforts to end discriminatory

mistreatment and/or harassment in the workplace, Defendant, as noted above, adversely altered

the terms and conditions of Ms. Melancon’s employment and threatened her with termination

                                               20.

       First, the private communications between Ms. Melancon and Defendant’s HR

representatives regarding Bernard’s “slave owner” comment became public knowledge.

                                               21.

       As a result, Ms. Melancon’s supervisor, Simon, and several members of Ms. Melancon’s

staff, seemingly out of nowhere, began complaining about Ms. Melancon’s job performance.

                                               22.

       After nearly 30 years of employment with absolutely no write-ups, reprimands,

suspensions or any other types of corrective action, Simon and members of Defendant’s security

staff began accusing Ms. Melancon of the following:

              A. Treating members of the security staff unfairly;

              B. Engaging in bullying, workplace harassment and verbally abusive behavior;

              C. Belittling members of the security staff regarding their body size and sexual

                  preference;

              D. Threatening members of the security staff with termination;

              E. Causing workplace conflict;



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               F. Leaking confidential information;

               G. Engaging in retaliatory type conduct if directives were questioned by

                   members of the security staff;

                                                23.

       As noted above, on July 8, 2021, Ms. Melancon’s supervisor, Simon, issued her a written

reprimand accusing her of failing to “demonstrate several elements of [Defendant’s]standards of

behavior which include supportiveness, etiquette, respect, and communication.”

                                                24.

       According to Simon, the written reprimand was issued because Ms. Melancon did not

properly advise a “team leader” on how to respond to or communicate with a contract employee

who was feeling sick.

                                                25.

       According to Simon, instead of showing empathy, Ms. Melancon sent the contract

employee a “text wanting to know if she was at work but never inquired how she was feeling.”

                                                26.

       According to Simon, because Ms. Melancon allegedly did not show empathy, Ms.

Melancon was “issued an [Employee Discipline Form] for this infraction….[and warned that]…

Any other future infractions may result in further disciplinary action up to and/or including

termination of employment.”

                                                27.

       Incredibly, Simon, hired just six-months earlier, who was not only trained by Ms.

Melancon but also praised Ms. Melancon’s commitment, dedication and expertise in carrying out

her job responsibilities and her responsiveness to Defendant’s security staff, was now threatening



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to terminate Ms. Melancon’s employment because she allegedly failed to show empathy to a

contract worker who was feeling ill.

                                               28.

       Moreover, after issuing Ms. Melancon a disciplinary form and threatening her with

termination, Simon and other Defendant security personnel, made Ms. Melancon’s workplace

environment a living hell. So much so that Ms. Melancon is under a physician’s care and was

required to take a medical leave of absence from her employment so that she could handle the

emotional stress that was intentionally inflicted upon her because she exercised her federal and

state protected right to oppose discrimination in the workplace.

                                       CAUSES OF ACTION

                                               29.

       All of the actions complained of herein were undertaken with malice and/or reckless

indifference to Ms. Melancon’s civil rights in direct violation of law. By the conduct described

above, as engaged in by Defendant’s agents and employees and for which Defendant is fully

liable under the doctrine of respondent superior, Defendant engaged in unlawful employment

practices against Plaintiff because she opposed discriminatory practices in the workplace.

                                               30.

       By the conduct alleged herein, Defendant, through its agents and managers, established

and maintained a pattern and practice of discriminatory treatment towards Plaintiff by engaging

in arbitrary adverse actions against Ms. Melancon, in violation of company policy, which created

an environment incompatible for Plaintiff to maintain and or better her position. Defendant's

treatment of Plaintiff affected the terms and conditions of Plaintiff’s employment in a negative

way with no basis in policy, performance, or law.



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                                                31.

       Ms. Melancon is and was qualified for her position. She engaged in protected activity, an

adverse employment action occurred, and a causal link exists between the protected activity and

the adverse action.

                                                32.

       Plaintiff sought to oppose discriminatory practices in the workplace internally through

Defendant’s HR Department by filing a complaint. She was unsuccessful. After filing her

complaint, instead of coming to Plaintiff’s aid, Defendant engaged in workplace harassment

which affected Ms. Melancon’s job performance and health.

                                                33.

       Defendants are liable for damages for retaliation pursuant to Title VII of the Civil Rights

Act of 1964 and the Civil Rights Act of 1866, as amended, 42 U.S.C. §1981 (1994), et seq.. This

includes compensatory damages; back pay and front pay; mental anguish; humiliation and

embarrassment; loss of reputation; foreseeable and unforeseeable damages, compensatory

damages resulting from the breach of contract based on discrimination; prejudgment interest; and

attorney’s fees and all costs of these proceedings.

                                        JURY DEMAND

                                                34.

       Plaintiff hereby demands trial by jury of all issues so triable herein.

       WHEREFORE, Plaintiff, Angela Melancon, prays that Defendant be required to appear

and answer Plaintiff’s Complaint and Jury Demand and, after due proceedings had and legal

delays, there be judgment rendered herein in favor of Plaintiff and against Defendant as detailed

in the foregoing Complaint and Jury Demand, in an amount reasonable in the premises, together



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with legal interest from the date of judicial demand, all costs of these proceedings, attorneys’

fees and for any and all general and equitable relief deemed appropriate by this Honorable Court

under the circumstances.

                                              Respectfully submitted,

                                              /s/G. Karl Bernard________
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